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                                                   No. 25-3727

                                         __________________________

                                  UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT

                                          _________________________

                                                 NEWSOM, et al.,

                                                                Plaintiffs-Appellees,

                                                         v.

                                                  TRUMP, et al.,

                                                              Defendants-Appellants

                                      _______________________________

                                  On Appeal from the United States District Court
                          for the Northern District of California, No. 3:25-cv-04807-CRB

                                     ________________________________

             BRIEF OF AMICUS CURIAE CALIFORNIA CONSTITUTION SCHOLARS
                      IN SUPPORT OF APPELLEES AND AFFIRMANCE
                             ________________________________

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                                     INTEREST OF AMICUS CURIAE
                    Amicus are California constitution and state constitutional law scholars who
             seek to aid this Court in resolving the issues of state sovereignty and federalism
             presented here. We are academics affiliated with the California Constitution Center
             (David A. Carrillo is executive director and Brandon V. Stracener is a senior
             research fellow), a nonpartisan academic research center at the University of
             California, Berkeley, School of Law. The University of California is not party to
             this brief, and our academic titles are for identification only.
                    This brief, filed on leave of court, will assist the Court by addressing the
             core issue: federalizing a state militia is lawful only when conditions set by
             Congress are met, and a president exceeds his powers in attempting to federalize a
             state militia over a governor’s objection without meeting those conditions.
                    Consistent with Federal Rule of Appellate Procedure 29(a)(4)(E), Amicus
             certifies that no party or counsel for any party has authored the Brief, participated
             in its drafting, or made any monetary contributions intended to fund preparation or
             submission of the Brief. A motion for leave to file accompanies this brief.
                                        SUMMARY OF ARGUMENT
                    Federal courts have jurisdiction to review presidential emergency
             declarations in general, and militia callouts like those here in particular. Such
             executive actions are no different from any other: whether or not they are
             authorized by constitutional or statutory law is a matter of interpretation and
             resolving factual disputes. Both matters are squarely within the judicial power to
             decide controversies and declare the law. Here, state militias can only be
             federalized under express statutory conditions. Because those conditions are
             unmet, California’s militia was unlawfully federalized. Even if those statutory
             conditions existed, the authorizing statutes are unconstitutional to that extent
             because they violate the Tenth Amendment’s anti-commandeering principle, which



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             forbids seizing state assets to enforce a federal policy. And even if federal statutory
             law can be so used, using a state militia for domestic law enforcement violates the
             Posse Comitatus Act. Thus, if the militia is being used for keeping the peace, that
             usurps state police power and violates state sovereignty. And if the militia is being
             used for federal law enforcement, that violates Posse Comitatus. The result is that
             no scenario exists here where the militia callup is lawful. This Court should affirm
             the lower court’s decision that the president’s order (the “order”) federalizing
             California’s militia is unlawful.
                                                 BACKGROUND
             I.     The National Guard has a unique, dual status.

                    In its modern form the National Guard is a special entity because it has a
             dual role as both the militias of the 50 states, the District of Columbia and the
             territories, and as the reserve force for the regular United States military. 1 The
             Guard may serve a state in times of local civil strife, or it may be federalized
             during national emergencies. In each state the Guard is under state authority and
             control as the militia. State governors are the commanders in chief of their
             militias.2 All persons enlisting in a state militia simultaneously enlist in the U.S.
             National Guard.3 But unless and until ordered to active Army duty, they retain
             their status as state militia members.4




             1
               This description of the National Guard’s legal status is drawn from Knutson v.
             Wisconsin Air Nat. Guard, 995 F.2d 765, 767 (7th Cir. 1993) (cert. den. (1993) 510
             U.S. 933) and Stirling v. Brown, 18 Cal.App.5th 1144, 1151–53 (2018), Nat. Guard
             Reg. (NGR) 500-5 § 4-1, and Perpich v. Department of Defense, 496 U.S. 334,
             340–46 (1990).
             2
               See, e.g., Cal. Mil. & Vet. Code § 140.
             3
               Perpich, 496 U.S. at 345.
             4
               Ibid. See also Holmes v. California Nat. Guard, 90 Cal.App.4th 297, 317 (2001).


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                    Yet federal law accounts for much of the Guard’s composition and function.
             The federal military prescribes regulations and issues orders to organize,
             discipline, and govern the National Guard.5 The president is the commander in
             chief of the Guard when under active federal duty status.6 The Guard’s dual
             function and dual enlistment means a service member may serve in any one of
             three statuses: state active duty status, Title 10 (active federal duty) status, or Title
             32 (hybrid) status.
                    Under state active duty status, a state is free to employ its militia under state
             control for state purposes and at state expense as provided in the state’s
             constitution and statutes. When serving in a state active duty status militia
             members are under the command and control of the governor and the state or
             territorial government. 7
                    Title 10 status means the state militia member has been called into active
             federal duty under the president’s command. This federal service is performed
             under Title 10 U.S. Code, with command and control resting solely with the
             president.8 When employed at home or abroad in Title 10 duty status, Guard forces
             are relieved of duties as a member of their state militia, released from state control,
             and become elements of the Reserve Component of the federal military force. 9
                    Title 32 status is a hybrid in that a Guard member operates under state active
             duty and under state control but in the service of the federal government. While
             under Title 32 status, the Guard service member is on state active duty funded by
             the federal government but authorized, organized, implemented, and administered



             5
               32 U.S.C. § 110; see Charles v. Rice, 28 F.3d 1312, 1315 (1st Cir. 1994).
             6
               U.S. Const., art. II, § 2, cl. 1.
             7
               National Guard Regulation (“NGR”) No. 500-5, § 10-2(a) & (b).
             8
               NGR 500-5.
             9
               NGR 500-5, § 10-4(a).


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             by the state. 10 When conducting domestic law enforcement support operations
             under Title 32, Guard members are under the command and control of the state and
             thus in a state status, but paid with federal funds. Under Title 32, the governor
             maintains command and control of Guard forces even though those forces are
             employed “in the service of the United States” for a primarily federal purpose.11
             II.    The California National Guard is the domestic state militia.

                    The National Guard’s hybrid nature is a product of the federal constitutional
             design. The federal constitution prohibits states from keeping troops without the
             consent of Congress. 12 It reserves to Congress the power “To provide for
             organizing, arming, and disciplining the Militia, and for governing such Part of
             them as may be employed in the Service of the United States, reserving to the
             States respectively, the Appointment of the Officers, and the Authority of training
             the Militia according to the discipline prescribed by Congress.”13 Congress, in turn,
             has authorized states to keep both federally recognized militias (the National
             Guard) and non-federally recognized militias (known as state defense forces). 14
                    The California National Guard is part of the active militia of this state.15 The
             state militia consists of the National Guard, State Guard and the Naval Militia, and
             the unorganized militia. 16 “The unorganized militia consists of all persons liable to
             service in the militia, but who are not members of the National Guard, the State
             Guard, or the Naval Militia.”17 operates under the governor’s command and control


             10
                Holmes, 90 Cal.App.4th at 317.
             11
                NGR 500-5, § 10-3(a).
             12
                U.S. Const., art. I, § 10, cl. 3.
             13
                U.S. Const., art. I, § 8, cl. 16.
             14
                See 32 U.S.C. § 109.
             15
                Cal. Mil. & Vet. Code § 120.
             16
                Cal. Mil. & Vet. Code § 120.
             17
                Cal. Mil. & Vet. Code § 121.


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             unless it is lawfully federalized, when it operates under the president’s command
             and control. 18
                       California’s governor commands the state’s militia as “the commander in
             chief of a militia that shall be provided by statute” and “may call it forth to execute
             the law.”19 The governor may order the militia to perform military duty of every
             description. 20 The governor may call into active service the active and the
             unorganized militia in case of (among others) tumult, riot, breach of the peace, or
             resistance to the laws of California or the United States. 21
                       The governor has exclusive authority over National Guard members in state
             active duty status.22 Although the Posse Comitatus Act generally bars the president
             from using federalized National Guard members within the United States for law
             enforcement and other purposes, there is no similar bar against a governor’s use of
             the militia within a state for law enforcement purposes or to assist in emergency
             relief.
                                                   ARGUMENT
             I.        Federal courts can review the presidential order here.

                       Whether the order here satisfies constitutional and statutory requirements is
             a judicial question. In such cases federal courts are empowered and obligated to
             interpret and declare the law.23 The narrow “political question” doctrine does not




             18
                See Cal. Mil. & Vet. Code § 550; 32 U.S.C. §§ 110, 502(a) 502(f), 903–04.
             19
                Cal. Const. art. V, § 7; see also Cal. Mil. & Vet. Code § 140.
             20
                Cal. Mil. & Vet. Code § 142.
             21
                Cal. Mil. & Vet. Code § 146.
             22
                See NGR 500-5 § 10-2(a).
             23
                Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803); Cohens v. Virginia, 19
             U.S. (6 Wheat.) 264, 404 (1821) (federal courts can neither decline their given
             jurisdiction nor usurp any other); Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S.


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             apply here. 24 That exception applies when a law gives the executive policy
             discretion that is only changeable through the political process.25 Yet here the
             relevant federal constitutional and statutory provisions set conditions for the
             president acting on the militia. That is a matter of interpretation squarely within the
             judicial function: the power to declare the law necessarily includes a power to
             declare when the conditions set by constitution or statute are met. 26 As always, the
             president’s authority to act here “must stem either from an act of Congress or from
             the Constitution itself.” 27 Because presidential emergency declarations, or
             decisions to call up the militia, are governed by constitutional and statutory
             provisions, federal courts can (and must) determine whether a president’s decision
             to invoke emergency powers or summon the militia are lawful.
                      Indeed, the high court has long done so. For example, in Chastleton Corp.
             the court held that it could inquire whether facts supported a supposed emergency,
             that an emergency ceases to exist when the facts change, and a court “is not at


             189, 195 (2012) (court is responsible for deciding cases properly before it, even
             those it “would gladly avoid”).
             24
                  Zivotofsky, 566 U.S. at 195.
             25
                Dalton v. Specter, 511 U.S. 462, 477 (1994) (presidential decisions made under
             statutes granting discretion are not judicially reviewable). Yet there are limits to
             the discretion Congress may grant. A.L.A. Schechter Poultry Corporation v. United
             States, 295 U.S. 495, 537–538 (1935) (Congress cannot delegate “unfettered
             discretion” to the president).
             26
                Immigr. & Naturalization Serv. v. Chadha, 462 U.S. 919, 952–53 n.16 (1983)
             (executive action is always subject to check by the authorizing statute’s terms, and
             if that authority is exceeded it is open to judicial review); Am. Power & Light Co.
             v. Sec. & Exch. Comm’n, 325 U.S. 385, 389–390 (1945) (when Congress
             formulates conditions by statute courts will review whether the statute’s terms are
             met); Roche v. Evaporated Milk Ass’n, 319 U.S. 21, 30 (1943) (courts cannot
             expand conditions set by Congress).
             27
                  Medellin v. Texas, 552 U.S. 491, 524 (2008).



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             liberty to shut its eyes to an obvious mistake, when the validity of the law depends
             upon the truth of what is declared.”28 Three other clear examples of the judicial
             power to review executive action even during gravest peril are all from World War
             II:
                         • In Hirabayashi the court reviewed whether restrictions imposed by a
                            military commander on persons in a military area, as authorized by
                            presidential order in a declared war, were an unconstitutional
                            delegation by Congress of its legislative power, and whether the
                            restrictions violated rights held by citizens of Japanese ancestry.29
                         • The court did so again in Korematsu, where it reviewed a military
                            order issued under presidential executive order authority granted by
                            congressional statute. The question was whether it was beyond the
                            war power of Congress and the executive to exclude those of Japanese
                            ancestry from the West Coast war area. 30
                         • And in Youngstown the court reviewed whether the president acted
                            within his constitutional power when he issued an order based on
                            findings “that his action was necessary to avert a national catastrophe”
                            and that in meeting this “grave emergency” the president acted within
                            his constitutional executive powers as commander-in-chief. 31




             28
               Chastleton Corp. v. Sinclair, 264 U.S. 543, 547–48 (1924); see also Miller v.
             Schoene, 276 U.S. 272, 281 (1928) (official’s discretion to decide whether or not
             conditions are met is subject to judicial review).
             29
                  Hirabayashi v. United States, 320 U.S. 81 (1943).
             30
               Korematsu v. United States, 323 U.S. 214, 225 (1944) abrogated by 585 U.S.
             667.
             31
                  Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 582 (1952).



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                     Thus, even in a declared all-out war with foreign powers the courts still may
             review questions of constitutional and statutory interpretation, and judge factual
             assertions. Mere invocations of “commander-in-chief” status and similar talismans
             are inadequate to escape judicial review of whether the power is properly exercised
             or exists at all. Otherwise, bare declarations of “danger!” would leave executive
             power unchecked.32 The federal constitution was not so designed.33
                     Instead, courts should accord executive conclusions “respect” — which
             means the executive’s views inform but do not supersede judicial review.34
             Otherwise the courts would not be independent at all, and the executive would be
             unbound. Concerned with kingly despots, the constitution’s drafters were not so
             unwise. By contrast in California, the Emergency Services Act provides a
             legislative emergency brake for ending gubernatorial declarations that federal
             executive powers lack. 35 Failing to provide for any check on presidential
             emergency powers is either a grave oversight in a document full of interbranch
             checks on every other power, or it means that the courts are meant to review
             exercises of federal executive power in emergencies. Thus, the court below
             correctly assumed jurisdiction over the questions presented here.



             32
               Cf. Korematsu, 323 U.S. at, 232 n.8 (Roberts, J., dissenting) (“No
             pronouncement of the commanding officer can, in my view, preclude judicial
             inquiry and determination whether an emergency ever existed . . . .” (abrogated by
             585 U.S. 667).
             33
               A.L.A. Schechter Poultry Corporation v. United States, 295 U.S. 495, 528–529
             (1935) (even extraordinary conditions cannot create or enlarge constitutional
             power; the Tenth Amendment precludes such assertions of extraconstitutional
             authority).
             34
                  Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 385–86 (2024).
             35
               California’s legislature can terminate a governor’s emergency powers by
             concurrent resolution. Cal. Gov’t Code § 8629.



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             II.    Federal constitutional power over the militia is not exclusive.

                    States have all powers not barred to them by the federal constitution because
             the same document creates a federal government of only certain enumerated
             powers.36 The states are sovereign political entities that retained residual
             sovereignty on joining the Union.37 Thus, when a federal power is not explicitly
             granted, the Tenth Amendment vests those powers in the states. 38 For example, in
             exercising their plenary police powers, state legislatures are not limited to
             Congress’s enumerated powers. 39 This reservation of all things not expressly
             granted gives states free rein to act wherever the federal government’s power ends:
             absent a constitutional provision barring a power from the states, powers that are
             not delegated to the federal government are state powers.40 The purpose of this
             federalist structure is to secure citizen liberty by diffusing sovereign power.41 And
             this allocation of reserved powers in our federal system preserves the integrity,
             dignity, and residual sovereignty of the states.42




             36
                The federal constitution “provides that all powers not specifically granted to the
             Federal Government are reserved to the States or citizens.” Shelby County, Ala. v.
             Holder, 570 U.S. 529, 543 (2013); United States v. Lopez, 514 U.S. 549, 552
             (1995); Bond v. United States, 572 U.S. 844, 863 (2014).
             37
                U.S. Const., Amdt. 10; Printz v. United States, 521 U.S. 898, 918–19 (1997);
             Coyle v. Smith, 221 U.S. 559, 567 (1911); Blatchford v. Native Village of Noatak,
             501 U.S. 775, 779 (1991) (states entered the Union “with their sovereignty intact”).
             38
                Nevada v. Hall, 440 U.S. 410, 425 (1979), overruled in other respect by
             Franchise Tax Bd. of California v. Hyatt, 587 U.S. 230 (2019).
             39
                Torres v. Lynch, 578 U.S. 452, 457–58 (2016).
             40
                Trump v. Vance, 591 U.S. 786, 799 (2020).
             41
                Shelby County , 570 U.S. at 543; Bond v. United States, 564 U.S. 211, 220–21
             (2011) (explaining that “the people, from whom all governmental powers are
             derived” have their freedom enhanced by the creation of two governments).
             42
                Bond, 564 U.S. at 221.


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                    State militias are an example of this reserved state power. The state militias
             predate the nation itself. As with all other sovereign state powers, states ceded
             control over their militias to the Union only by the federal constitution’s terms.
             The federal constitution provides that organizing the militia is a shared state and
             federal responsibility. 43 As discussed next, it also provides that Congress has
             exclusive power to define that relationship’s terms by statute, and the presidential
             order here does not meet those mandatory conditions.
             III.   Only Congress can define conditions for federalizing the militia.

                    The federal constitution grants Congress power to “provide for calling forth
             the militia to execute the laws of the union, suppress insurrections and repel
             invasions.”44 That is an exclusive power of Congress to define by statute when the
             militia may be federalized. Congress is also granted the power to provide for
             “organizing” the militia, “and for governing such part of them as may be employed
             in the service of the United States.” 45 That also is an exclusive power to provide by
             statute how and when the militia may be federalized. Together, “the Militia
             Clauses are — as the constitutional text plainly indicates — additional grants of
             power to Congress.”46
                    Granting this power to the federal legislative branch necessarily denies it to
             the federal executive, making it exclusive to Congress. Thus, the federal
             constitution makes the president commander in chief of the militia only “when
             called into the actual service of the United States.”47 Because Congress defines the
             exclusive conditions for when that may occur, the president can only call a state


             43
                U.S. Const. art. I, section 8, cl. 16.
             44
                U.S. Const., art. I, § 8, cl. 15.
             45
                U.S. Const., art. I, § 8, cl. 16.
             46
                Perpich, 496 U.S. at 349.
             47
                U.S. Const., art. II, §1.


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             militia into federal service on conditions set by statute, and can command a state
             militia only when it is in active federal service, as defined in statute. A president
             may not ignore these statutory requirements when they are inconvenient. 48
                      Congress has exercised its power to set statutory conditions with 10 U.S.C.
             § 12406 and the Insurrection Act. Of the two, only section 12406 is implicated
             here. Section 12406 originated in the 1903 Dick Act, the first in a series of
             congressional enactments that transformed the state militias into what is now the
             National Guard. At first, the 1903 text ignored the state governors and granted the
             president unilateral authority. But Title 10 was recodified in 1956, and the statute’s
             second sentence was amended to its current phrasing, which requires federalizing
             orders to be issued through state governors: “Orders for these purposes shall be
             issued through the governors of the States.” 49 Courts must read a change in
             statutory language, if possible, to have some effect. 50 Adding the requirement to
             issue orders through state governors must mean something more than merely
             telling state governors that “this is happening whether you like it or not.”
                      The context of Congress’ 1956 amendment is significant: adding governors
             to the statute at their request shows that Congress intended to involve governors in
             militia call-ups. 51 It suggests greater involvement than the perfunctory pass-
             through argued by the government, which would render part of the statute




             48
               Util. Air Regul. Grp. v. E.P.A., 573 U.S. 302, 327 (2014) (no presidential power
             to revise clear statutory terms that turn out not to work in practice).
             49
                  10 U.S.C. § 12406.
             50
                  Am. Nat’l Red Cross v. S. G., 505 U.S. 247, 263 (1992).
             51
               Bostock v. Clayton Cnty., Georgia, 590 U.S. 644, 655 (2020) (interpretation
             should accord with ordinary public meaning of terms at time of its enactment,
             courts should orient themselves “to the time of the statute’s adoption”).



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             superfluous — something courts “are loath to do.”52 If a governor has no
             substantive role in a militia call-up, then Congress need not have included them.
             There is no reason Congress would bother to specify conditions for federalizing the
             militia only to allow federalization absent those conditions. Instead, reading
             through the governors of the States to give those governors some say is consistent
             with a congressional purpose to respond to state concerns about unilateral
             federalization. 53
                      By contrast, sections 252 and 253 of the Insurrection Act are unilateral and
             designed for a state defying federal authority. On those rare occasions when
             presidents have wrested control of a militia away from a governor, it has always
             been done through the Insurrection Act, not through section 12406. This counters
             arguments that the lower court here abrogated necessary unilateral presidential
             militia call-up authority — which still exists under the Insurrection Act should that
             act’s conditions be met.
                      Even with congressional power to define militia call-up conditions, the
             domestic military is not truly an exclusive federal power. States have significant
             residual police powers that overlap with Congress’s power over the military. On
             that basis, the Supreme Court previously dismissed a claim that “all power of
             legislation regarding” military matters “is conferred upon Congress and withheld
             from the States,” upholding state legislation on enlistment in the U.S. Army and



             52
                  Cooper Indus., Inc. v. Aviall Servs., Inc., 543 U.S. 157, 166 (2004).
             53
               Davis v. United States, 495 U.S. 472, 480 (1990) (court used fact that Congress
             was responding to stakeholder concerns to adopt interpretation consistent with this
             goal); see also Dolan v. Postal Serv., 546 U.S. 481, 486 (2006) (statutory
             interpretation includes “considering the purpose and context of the statute”);
             Robinson v. Shell Oil Co., 519 U.S. 337, 346 (1997) (court’s interpretation based
             partly on the statute’s “primary purpose”).



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             Navy.54 The high court rejected the idea “that a State has no interest or concern in
             the United States or its armies or power of protecting them from public enemies,”
             eschewing “[c]old and technical reasoning” that “insist[s] on a separation of the
             sovereignties” in the army-raising context.55 Similarly, the court held that “there is
             no clause of the Constitution which purports, unaided by Congressional enactment,
             to prohibit” states from exercising their police powers in ways that arguably
             burden congressional power to raise and support armies. 56 Thus, from both a
             federal constitutional perspective and a state sovereignty view, declaring that the
             president is commander in chief is not sufficient. Instead, the president must show
             that his order meets statutory requirements. As discussed next, it fails that test.
             IV.    The order does not satisfy the statutory conditions for federalizing
                    California’s militia.

                    The court below correctly found that the statutory terms for federalizing
             California’s militia here are unmet. (We will not retread that discussion.) Absent
             that statutory and constitutional authority, the president exceeds his power in
             seizing command of the militia. Unless lawfully called into federal service, a
             California militia member remains under the state governor’s command. 57 This
             state affiliation may be suspended in favor of a federal affiliation only during the
             period of active duty.58 What changes when the militia passes in and out of active
             federal duty is the chain of command. When called into federal service under
             section 12406, the California militia operates under the direct command of the
             Secretary of the Army; otherwise, the state militia operates as reserves of the


             54
                Gilbert v. Minnesota, 254 U.S. 325, 327–28 (1920).
             55
                Id. at 328–29.
             56
                Penn Dairies, Inc. v. Milk Control Comm’n of Pa., 318 U.S. 261, 269 (1943).
             57
                11 Op.Cal.Atty.Gen. 253 (National Guard officer when not in federal service
             belongs to a state force under command of governor).
             58
                Perpich, 496 U.S. at 349.


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             Army. 59 And when not federally activated as reserves of the Army under section
             12301, guardsmen have state status and report directly to the governor. 60 Without
             a valid statutory basis for transferring command over a state militia, the president
             lacks constitutional power to order California militia units into federal service.
                    The remainder of this discussion assumes that this Court agrees that the
             order does not comply with section 12406. Because the order operates outside that
             authority, it violates the Tenth Amendment’s anti-commandeering principle by
             seizing state assets to enforce a federal policy — here, immigration laws.
             V.     The order violates the Tenth Amendment’s anti-commandeering
                    doctrine.

                    The order here is invalid because it violates the anti-commandeering
             doctrine. That rule bars the federal government from conscripting states to
             implement federal policy.61 Rooted in the Tenth Amendment, this federalism
             doctrine protects state sovereignty by policing “the vertical separation of powers
             between the state and federal governments.” 62 The anti-commandeering doctrine
             bars the federal government from forcing state assets to implement federal
             immigration policy. Thus, federalizing California’s militia to assist federal
             immigration enforcement is precisely the commandeering that the Tenth
             Amendment forbids.




             59
                In re Sealed Case, 551 F.3d 1047, 1050–51 (D.C. Cir. 2009) (citing 10 U.S.C. §
             10107).
             60
                Ibid.
             61
                See Printz, 521 U.S. at 935 (“Congress cannot compel the States to enact or
             enforce a federal regulatory program.”).
             62
                Margaret Hu, Reverse-Commandeering, 46 U.C. DAVIS L. REV. 535, 548–49
             (2012).


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                    The anti-commandeering doctrine preserves the constitutional design “to
             withhold from Congress the power to issue orders directly to the States.”63 As a
             body with only enumerated powers, Congress lacking enumerated power to
             directly order the states means that it lacks that power.64 The doctrine also flows
             from the Tenth Amendment principle that states are sovereign and cannot be
             forced to execute federal laws. Anti-commandeering applies to all state assets —
             law enforcement and (barring lawful federalization) the militia alike. This remains
             true for federal control over the militia because that control exists only in statutory
             conditions unmet here. Thus, the order violates the Tenth Amendment.
                    The anti-commandeering principle dictates that “Congress cannot issue
             direct orders to state legislatures,” and states can refuse to adopt federal policies. 65
             Federal statutes cannot force states to participate “in the actual administration of a
             federal program” or policy. 66 States may “refrain from assisting with federal
             efforts.” 67 The doctrine applies even when the federal executive has clear federal
             power to execute a federal policy — states cannot be compelled to execute federal
             policy.
                    Thus, even had the president complied with statutory requirements here,
             federalizing the militia in this instance would be unconstitutional because it
             commandeers the militia to enforce federal law. The president’s order justifies the
             action “to temporarily protect ICE” and other federal agents in “the enforcement of
             Federal law.” And other presidential statements listed in California’s complaint



             63
                Murphy v. National Collegiate Athletic Association, 584 U.S. 453, 470 (2018).
             64
                Ibid.
             65
                Murphy, 584 U.S. at 475. See New York v. United States, 505 U.S. 144, 161–62
             (1992).
             66
                Printz, 521 U.S. at 917–18.
             67
                United States v. California, 921 F.3d 865, 891 (9th Cir. 2019).


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             show an intent to use the militia for federal law enforcement, specifically civil
             immigration. All that may in theory match with section 12406 authority to use the
             militia to execute federal laws (if that section actually applied here). But
             anticommandeering forbids this use of state resources to enforce federal policy.
             Thus, even if the order met the statutory requirements, the statute’s substance is
             unconstitutional to the extent it permits use of California’s militia to support
             federal immigration enforcement.
             VI.    The order violates the Tenth Amendment’s reservation of police powers
                    to the states.

                    Federalizing a state militia for intra-state law enforcement violates the Tenth
             Amendment by usurping the exclusive state police powers. The federal
             government lacks a general police power to enact and enforce laws for community
             welfare and order; it instead possesses only limited authority to prohibit and punish
             crimes. “The Constitution creates a Federal Government of enumerated powers.”68
             As with its powers generally, Congress has only limited authority over crime. “The
             Constitution,” in short, “withhold[s] from Congress a plenary police power.” 69
                    Those matters are instead exclusive state subjects. The federal government
             therefore exceeds its power to federalize a state militia by trying to enforce state
             laws, such as the crowd control and public order laws implicated here. Keeping the
             peace (even during civil unrest) is a state responsibility, as is the decision to deploy
             the militia to supplement local law enforcement. Absent a showing that the
             president is unable with the regular forces to execute the laws of the United States,



             68
                Lopez, 514 U.S. at 552; see U.S. Const., art. I, § 8; Marbury v. Madison, 1
             Cranch 137, 176 (1803) (“The powers of the legislature are defined, and limited;
             and that those limits may not be mistaken, or forgotten, the constitution is
             written”).
             69
                Lopez, 514 U.S. at 566; see U.S. Const., art. I, § 8; Amdt. 10.


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             isolated incidents of civil unrest are inadequate to withdraw militia command from
             the governor.
                    By contrast, state legislatures are vested with plenary lawmaking power.
             Unlike Congress, which only holds the specific powers delegated to it by the
             federal constitution, the California legislature has plenary legislative authority,
             except as limited by the California constitution.70 The police power, a state’s
             “broad authority to enact legislation for the public good,” is constrained only by
             the limits of the state’s own constitution or the federal charter. 71 States retaining
             their sovereignty when they joined the Union means that states are the repositories
             of traditional police powers.72
                    Keeping the local peace is California’s power and responsibility.
             California’s plenary power to regulate civil unrest derives from the separate and
             independent sources of power and authority that originally belonged to the states
             before admission to the Union, which were preserved to them by the Tenth
             Amendment.73 Every state is “competent to exert that residuum of sovereignty not
             delegated to the United States by the Constitution itself.”74 Thus, California “has
             the power, inherent in any sovereign, independently to determine what shall be an
             offense against its authority and to punish such offenses.” 75 Breach of the peace is
             just such an offense.


             70
                Joseph R. Grodin, Darien Shanske, and Michael B. Salerno, THE CALIFORNIA
             STATE CONSTITUTION (Oxford University Press 2016) at 139.
             71
                Bond, 572 at 854 (the federal government has no analogue to states’ broad
             authority to enact legislation for the public good); Oklahoma v. Castro-Huerta, 597
             U.S. 629, 636 (2022) (a state is generally “entitled to the sovereignty and
             jurisdiction over all the territory within her limits”).
             72
                People v. Markham, 49 Cal.3d 63, 72 (1989) (citing The Federalist, No. 45).
             73
                United States v. Lanza, 260 U.S. 377, 382 (1922).
             74
                Coyle v. Smith, 221 U.S. at 567; Skiriotes v. Florida, 313 U.S. 69, 77 (1941).
             75
                United States v. Wheeler, 435 U.S. 313, 320 (1978).


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                    Preemption does not apply here. The high court assumes that the historic
             state police powers are not superseded by federal law unless Congress expresses a
             clear and manifest purpose to do so. 76 Under the background principles of our
             federal system, the areas traditionally left to state control using their police power
             are too numerous to list. 77 To encroach on those areas, Congress must “make its
             intention clear and manifest [that] it intends to pre-empt the historic powers of the
             States.”78 Even a statement of intent to preempt may be inadequate if Congress
             infringes on areas of traditional state control. Here, the broad state police power is
             not limited by the mere existence of federal powers over the militia because
             “Article I gives Congress a series of enumerated powers, not a series of blank
             checks.” 79 Other than perhaps section 12406 (which does not apply here), no
             federal statute would supply the preemptive intent necessary to override
             California’s historic police powers over public order.
                    To the extent that the president relies here on a federal statute for authority
             to use state assets for general policing purposes, that exceeds the federal legislative
             power. If these statutes are so read, then Congress has encroached on states’
             traditional police powers to define the criminal law and to protect the public
             order. 80 Congress cannot by statute enlist state government assets for general
             federal policing purposes (unconnected to any specific federal crime) such as
             crowd control purposes here. In doing so Congress would be using its incidental




             76
                Cipollone v. Liggett Group, Inc., 505 U.S. 504, 516 (1992).
             77
                See Gonzales v. Oregon, 546 U.S. 243, 274 (2006).
             78
                Gregory v. Ashcroft, 501 U.S. 452, 461 (1991) (internal quotation marks and
             citation omitted).
             79
                Haaland v. Brackeen, 599 U.S. 255, 276 (2023).
             80
                Brecht v. Abrahamson, 507 U.S. 619, 635 (1993); Hillsborough County v.
             Automated Medical Laboratories, Inc., 471 U.S. 707, 719 (1985).


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             authority to subvert basic principles of federalism and dual sovereignty, which it
             cannot do.81
                    Today’s facts are local law enforcement within the jurisdiction of
             California’s governor and attorney general, not an invasion or insurrection.82 Were
             this a declared war, a sudden military invasion, or an organized domestic rebellion,
             the president’s power would be undisputed. 83 Yet those conditions are absent here,
             and in the ordinary course the notion that states may call out the militia to respond
             to genuine exigencies is uncontroversial. Because the events at hand are at most
             ordinary civil unrest within local capabilities, no federal statute could
             constitutionally encroach on state power here.
                    Even if the president dodges these impediments, his order is made unlawful
             by the Posse Comitatus Act. 84 Since 1878, Congress has by statute forbidden the
             use of federal military personnel to enforce domestic policies within any of the


             81
                Printz, 521 U.S. at 923–24; Alden v. Maine, 527 U.S. 706, 732–33 (1999).
             82
                Cal. Const. art. V, § 1 (supreme state executive power is vested in the governor,
             who “shall see that the law is faithfully executed”), and art. V, § 13 (attorney
             general is state’s chief law enforcement officer with a duty “to see that the laws of
             the State are uniformly and adequately enforced”).
             83
                The federal constitution divests the states of war powers and “[t]he States
             ultimately ratified the Constitution knowing that their sovereignty would give way
             to national military policy.” Torres v. Tex. Dep’t of Pub. Safety, 597 U.S. 580, 590
             (2022); Holmes v. Jennison, 39 U.S. 540, 551 (1840) (“The powers of war and
             peace, and of making treaties, are conferred upon the general government; and at
             the same time, expressly prohibited to the states.”); United States v. Curtiss-Wright
             Exp. Corp., 299 U.S. 304, 318 (1936).
             84
                18 U.S.C. § 1385 (“Whoever, except in cases and under circumstances expressly
             authorized by the Constitution or Act of Congress, willfully uses any part of the
             Army, the Navy, the Marine Corps, the Air Force, or the Space Force as a posse
             comitatus or otherwise to execute the laws shall be fined under this title or
             imprisoned not more than two years, or both.”); Laird v. Tatum, 408 U.S. 1, 32
             (1972) (Reconstruction Era statute forbids the use of military troops as a posse
             comitatus).


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             states. Even if California’s militia were lawfully federalized, they are now federal
             military troops. As such, their use for the domestic law enforcement task of
             quelling civil unrest is barred by the Posse Comitatus Act.
             VII. Lacking congressional authority, the president’s power is at its lowest
                  ebb.

                     With congressional permission absent, the president can only apply his
             inherent powers against those of California and its governor. To resolve that
             conflict, Justice Jackson’s concurrence in Youngstown for resolving conflicts
             between Congress and the president applies equally well here.85 Youngstown
             discussed horizontal separation of powers — yet the same framework describes
             vertical federalism conflicts between the federal executive and the states. Most
             state–federal conflicts have seen Congress attempting to impose its legislative
             power on the states. By contrast, there is scant authority on the federalism
             implications of states opposing federal executive power. Youngstown best suits that
             scenario.
                     Through that lens, the president’s power here is at its lowest ebb. He acts
             without congressional authority, so he may rely only on his own powers. But the
             president lacks any direct power to federalize the militia, with the federal
             constitution assigning that authority exclusively to Congress. Thus, the president’s
             power here is dependent on congressional authorization, and lacking that the
             president can rely only on his own inherent powers. Those are inadequate against
             California’s sovereign power as a state.
                     States have maximum power in this scenario, where the federal executive
             lacks an express or necessarily implied constitutional power. In such cases the
             police power, a state’s “broad authority to enact legislation for the public good,” is


             85
                  Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952).


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             constrained only by the limits of the state’s own constitution or the federal
             charter.86 By contrast, the federal constitution creates a federal government of only
             certain enumerated powers.87 Thus, when a federal power is not explicitly granted,
             the Tenth Amendment vests those powers in the states. 88 Absent a constitutional
             provision barring a power from the states, powers that are not delegated to the
             federal government are state powers.89 That makes it California’s decision to call
             up the militia, not the president’s.
                    Here, California’s governor has explicit state constitutional power to
             command the state’s militia.90 It is a discretionary state executive power: “When
             and under what circumstances the National Guard should be called into action to
             preserve the peace and to protect property is a matter within the discretion of the
             Governor . . . .” 91 Because the state constitution vests the supreme executive power
             in the governor and imposes on that officer a duty to see that the laws are faithfully
             executed, that duty also applies to constitutional provisions — such as




             86
                Bond, 572 U.S. at 854 (federal government has no analogue to broad state
             authority to enact legislation for the public good and instead “can exercise only the
             powers granted to it”); Oklahoma, 597 U.S. at 636 (a state is generally “entitled to
             the sovereignty and jurisdiction over all the territory within her limits”).
             87
                Lopez, 514 U.S. at 552; Bond, 572 U.S. at 863 (citations omitted).
             88
                Nevada, 440 U.S. at 425 (given Tenth Amendment’s reminder that powers not
             delegated to the federal government nor prohibited to the states are reserved to the
             states or to the people, courts should not assume that unstated limitations on state
             power were intended by the Framers), overruled in other respect by Franchise Tax
             Bd. of California v. Hyatt, 587 U.S. 230 (2019).
             89
                Trump, 591 U.S. at 799.
             90
                Cal. Const. art. V., § 7 (“The Governor is commander in chief of a militia that
             shall be provided by statute. The Governor may call it forth to execute the law.”).
             91
                Susman v. City of Los Angeles, 269 Cal.App.2d 803, 818–19 (1969).


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             commanding the militia.92 California’s governor also has explicit statutory powers
             over the militia.93
                    With the state governor as commander in chief of the state’s militia, a
             presidential order federalizing the state militia under section 12406 requires orders
             issued through the state governor. California law mirrors this requirement,
             permitting the militia to respond upon “call or requisition of the President of the
             United States.” 94 Absent that authority, the state governor retains command.
                    Indeed, Congress arguably has already negated any argument that a
             president has unilateral authority to override a state governor in calling up the
             militia. President George W. Bush once declined to activate Florida’s militia over
             the state governor’s objection, uncertain about the legality of doing so.95 Congress
             attempted to resolve that ambiguity by expanding presidential authority to mobilize
             the National Guard in the National Defense Authorization Act of 2007 — which
             allowed the president to federalize the Guard without state governor consent. But
             after all 50 governors objected, Congress repealed it the following year, reverting
             the law to its original text. Thus, section 12406 still mandates that federalizing
             orders be issued through the governors. Nor does 10 U.S.C. § 12301 (which
             arguably permits militia federalization over a governor’s objection) apply here —
             it covers only “active duty outside the United States, its territories, and its
             possessions.” Let’s stipulate that California is inside the United States.
                    Finally, there is no argument that lack of state power requires federal



             92
                Spear v. Reeves, 148 Cal. 501, 504 (1906).
             93
                Cal. Mil. & Vet. Code § 140 (“The Governor of the State, by virtue of his office,
             is the Commander in Chief of the Militia of the State.”).
             94
                Cal. Mil. & Vet. Code § 146(b).
             95
                See Susan B. Glasser and Michael Grunwald, The Steady Buildup to a City’s
             Chaos, THE WASHINGTON POST, Sept. 11, 2005.


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             intervention. California’s governor has constitutional and statutory authority to
             muster the militia and order it to “execute the law.”96 Beyond that, California’s
             governor has power to declare a state of emergency under the Emergency Services
             Act (ESA).97 The ESA grants broad gubernatorial powers in the event of a declared
             emergency.98 With that, California’s governor is well-armed against any
             catastrophe; more so against the transient local events here. This is at most a local
             policing matter, and “federal troops should always be a last resort, used only in
             cases of widespread collapse of civil authority and only at the explicit request of
             local leaders.”99 That is not the case here.
                                                CONCLUSION
                    Since the Civil War, power has shifted from the states to the federal
             government, and from Congress to the president. The past may well have required
             such changes. Today calls for ensuring the balance has not tipped too far away
             from the constitutional order, for recognizing state powers, and for refusing claims
             of exclusive executive power inconsistent with the Constitution. Failing to do so
             ensures greater concentration of power and warping of the constitutional structure.
             The lesson of recognizing overly expansive executive power is that doing so
             encourages abuse of power.100 This Court should not add unreviewable domestic
             military force to that arsenal. A reasoned result here holds that judicial review
             applies, that state power never ceded to the federal government remains, and that


             96
                Cal. Const. art. V, § 7.
             97
                Cal. Gov’t Code § 8574.
             98
                Cal. Gov’t Code §§ 8571–72, 8645.
             99
                See Michael R. Moore, I Ran the L.A.P.D. I Know What Happens When Troops
             Are Sent to American Cities, THE NEW YORK TIMES, Jun. 13, 2025.
             100
                Trump v. United States, 603 U.S. 593, 609 (2024) (president is entitled to
             absolute immunity from criminal prosecution for actions within his conclusive and
             preclusive constitutional authority).



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             the president may not impose domestic military force on civilians at will. This
             Court should affirm the lower court.


              DATED: June 16, 2025            Respectfully submitted,


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                                    CERTIFICATE OF COMPLIANCE
                    This brief contains 6,996 words, excluding the items exempted by FED. R.
             APP. P. 32(f), and therefore complies with the word limit of FED. R. APP. 29(a)(5)
             in light of Circuit Rule 32-1(a).
                    This brief’s type size and typeface comply with FED. R. APP. P. 32(a)(5) and
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                                       CERTIFICATE OF SERVICE

                    I, Brandon V. Stracener, hereby certify under Ninth Circuit Rule 25-
             5(f)-(g) that I electronically filed the foregoing brief on this date with the
             Clerk of the Court for the United States Court of Appeals for the Ninth Circuit
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